                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF WISCONSIN


VIRGINIA A. VIILO,

                     Plaintiff,

              v.                                        Case No. 05-C-0216

CITY OF MILWAUKEE,
SUPERVISORY PERSONNEL,
KEVIN EYRE,
MONTELL D. CARTER,
POLICE OFFICERS,

                     Defendants.


      DECISION AND ORDER GRANTING IN PART AND DENYING IN PART
 MOTION FOR SUMMARY JUDGMENT AND SETTING SCHEDULING CONFERENCE

              Virginia Viilo sues the City of Milwaukee and police officers under 42 U.S.C. §

1983, asserting unlawful seizures of her and her personal property, violation of her due

process rights, and failure on the part of the City to properly train its officers. (Pet. for

Removal, Ex. Compl. & Jury Demand at 6-11.) The facts underlying the complaint concern

the shooting of Viilo’s dog by police officer and defendant Montell D. Carter. The City of

Milwaukee and defendant officers Carter and Kevin Eyre move for summary judgment.

              Summary judgment is proper if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with any affidavits, show that there is no

genuine issue of material fact and the moving party is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The movant bears

the initial burden of demonstrating that summary judgment should be granted. Id. at 323.

Once this burden is met, the opposing party must designate specific facts to support or



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defend each element of the cause of action, showing that there is a genuine issue of material

fact for trial. Id. at 322-24.   “Material” means that the factual dispute must be outcome-

determinative under governing law. Contreras v. City of Chicago, 119 F.3d 1286, 1291 (7th

Cir. 1997). Failure to support any essential element of a claim renders all other facts

immaterial. Celotex, 477 U.S. at 323. To establish that a question of fact is genuine, the

opposing party must present specific and sufficient evidence that, if believed by a jury, would

actually support a verdict in the opposing party’s favor. Fed. R. Civ. P. 56(e); Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). Where the record is taken as a whole could

not lead a rational trier of fact to find for the nonmoving party, there is no genuine issue for

trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

              In analyzing whether a question of fact exists, the court construes the evidence

in the light most favorable to the party opposing the motion. Anderson, 477 U.S. at 255.

                                        CIVIL L.R. 56.2

              In this district, a party moving for summary judgment must file either a stipulation

of facts or proposed findings of fact or a combination of both. Civil L.R. 56.2(a). The

opposing party must submit a “specific response to the movant’s proposed findings of fact .

. . . The response must refer to the contested finding by paragraph number and must include

specific citations to evidentiary materials in the record which support the claim that a dispute

exists.” Civil L.R. 56.2(b)(1) (E.D. Wis.). Further, the opposing party “may present additional

factual propositions deemed to be relevant to the motion,” Civil L.R. 56.2(b)(2) (E.D. Wis.),

including allegedly undisputed material facts or additional disputed material facts that

preclude summary judgment, id.         These propositions “must be set out in numbered



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paragraphs, with the contents of each paragraph limited as far as practicable to a single

factual proposition.” Civil L.R. 56.2(a)(2), (b)(2).

              Although Viilo responded to the defendants’ proposed findings of fact, she

presented no proposed findings of fact of her own with her opposition brief. Instead, she

presented a twenty-eight page statement of facts section in her brief, which was not in proper

form. Further, proposed facts were discussed in the argument section of Viilo’s brief. After

defendants pointed out this error in their reply brief, Viilo attempted to submit proposed

findings of fact, stating that they simply restated the facts in her brief using numbered

paragraphs as required by Civil L.R. 56.2. (Senatori Letter filed 7/21/06.) Defendants object

to consideration of these tardy submissions.

              With due regard for the local rules and the aforementioned matters, the court

will not consider Viilo’s proposed findings of fact submitted after summary judgment briefing

was complete. Nor will the court consider the proposed facts offered in Viilo’s brief, as they

are not in proper form under Civil L.R. 56.2. Thus, the court will look to Viilo’s responses to

defendants’ proposed findings of fact in determining whether Viilo has established a genuine

question of material fact which will preclude summary judgment.

              In addition, the court will disregard replies the defendants filed after Viilo

responded to their (defendants’) proposed findings of fact. The local rules do not provide for

such replies. Some judges in this district, may have considered such replies or suggested

that they might be proper, e.g., Williams v. Brann, No. 02-C-940, 2006 WL 2401112, *3 (E.D.

Wis. Aug. 18, 2006) (Stadtmueller, J.); Jackson v. Racine County, No. 02-C-936, 2005 WL

1767647, *6-*7 (E.D. Wis. July 25, 2005) (Goodstein, M.J.). However, Civil L.R. 56.2 provides

only for initial proposed findings of fact by the movant, specific responses to the initial

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proposed findings of fact plus additional proposed findings of fact by the nonmovant, and a

response to the nonmovant’s additional proposed findings by the movant. The general

provision in Civil L.R. 7.1(c), which permits a reply brief, references Civil L.R. 56.2 for

“additional summary judgment motion procedures.” Thus, Rule 7.1(c)’s reference to a reply

brief and, if necessary, affidavits in reply does not somehow permit replies to proposed

findings of fact. The reference in Rule 7.1(c) to reply affidavits makes sense respecting

support for responses to the nonmovant’s additional proposed findings of fact, but does not

authorize replies to the nonmovant’s response to the movant’s proposed findings of fact.

                                          STATEMENT OF FACTS

                 At all times pertinent to this case, Montell Carter was a police officer acting in

that capacity and Kevin Eyre was a sergeant and police supervisor acting as such. (Def.’s

Br. in Supp. at 3, ¶ 3 The Parties.1) Both were employed by the City of Milwaukee. (Id., ¶¶

2-3 The Parties.)

                 On August 15, 2004, Virginia Viilo owned a seven-year-old labrador

retriever/springer spaniel mixed breed dog named “Bubba.” (Id., ¶ 1 The Events; Pl.’s Resp.

to Def.’s Proposed Findings of Fact (“Pl.’s Resp.”) ¶ 1 The Events.) Bubba had a history of

jumping a three and one-half foot fence and leaving Viilo’s yard, sometimes more than once

per day. (Def.’s Br. in Supp. at 3, ¶ 2 The Events.) Frequently, Bubba jumped the fence to


                 1
                   Defendant’s proposed findings of fact are found within their brief. Because the proposed
findings of fact are within the brief, the court will cite to the page num ber as well as to the particular paragraph
num ber. Because the proposed findings contain separate sections using som e of the sam e num bering for
paragraphs, if reference to a particular paragraph would be unclear, the court gives the section heading for the
proposed finding.
                  Unless otherwise noted, a proposed finding of fact was not disputed for the point cited and the
court’s citation to the proposed finding of fact incorporates plaintiff’s agreem ent with it. A citation to both a
proposed finding of fact and the response to it generally indicates that the proposed finding has been used as
m odified by the response.

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visit neighbors and children nearby. (Pl.’s Resp. ¶ 3 The Events.) During the seven years that

Viilo owned Bubba, no neighbor complained of Bubba’s visits. (Id.) Because Viilo had

received a citation for a barking dog after tying Bubba to a tree in the yard, she did not tether

him. (Def.’s Br. in Supp. at 3, ¶ 3 The Events; Pl.’s Resp. ¶ 3 The Events.)

              During the evening of August 15, 2004, Carter and other police officers

responded to 2229 South 20th Street, Milwaukee, to check for a subject wanted by the

Washington County Sheriff’s Department on felony charges, related to a stabbing and

kidnaping. (Def.’s Br. in Supp. at 4, ¶ 5; Pl.’s Resp. ¶ 5.) According to Rodney Klotka of the

Milwaukee Police Department’s Fugitive Apprehension Unit, a confidential informant stated

to him that the suspect, Joseph Arendt, had just walked into 2229 South 20th Street. (Def.’s

Br. in Supp. at 4, ¶¶ 6-7.) Within an hour of the call, officers responded to that address. (Id.)

Arendt was known to carry a weapon and to be accompanied by a pit bull. (Id. ¶ 7.)

              Klotka, Carter, and officers George Schad, Ala Awadallah, Walter McCullough,

and Denise Hewitt proceeded to 2229 South 20th Street, parked their vehicles away from the

residence, and approached the home from the front along 20th Street. (Id. ¶ 9.) Because

Arendt was known to be accompanied by a dog, Carter armed himself with a department-

issued shotgun, which had been located in his unmarked squad car. (Id. ¶ 10; Pl.’s Resp. ¶

10; Carter Dep. at 28; Klotka Dep. at 14-15; Carter Aff. ¶ 8.)

              Klotka and Schad approached the house in front of Carter and walked toward

the front steps. (Def.’s Br. in Supp. at 5, ¶ 11.) At that time, Viilo, her mother, her roommate

Roland Klitzka, guests, and Bubba, were in the backyard of the house. (Id. ¶ 12.) As Klotka

and Schad approached the house, Carter saw Bubba, a black and white dog, jump the gated

fence located across the narrow gangway that ran along the south side of the house, leading

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to the backyard. (Id. ¶ 13.) Carter saw the dog run toward Klotka and Schad. (Id. ¶ 14.)

Bubba was exposing his gums and teeth, and was barking and growling (id. ¶ 15), but did not

then try to attack the officers (Pl.’s Resp. ¶¶ 15, 16.2) Carter observed Klotka and Schad

attempt to move from Bubba toward the steps leading to the front door, and observed that

there was no plausible means for Klotka and Schad to escape the dog because of its speed.

(Def.’s Br. in Supp. at 5, ¶ 16.3)

                  Fearing for the safety of Klotka, Schad, himself, and the other officers, Carter

raised his shotgun and fired two shots at the dog. (Id. ¶ 17.4) Carter discharged his weapon

while standing near the corner of the neighbor’s house to the south, near the utility meter as

depicted in photograph 1 attached to his affidavit, and facing 2229 South 20th Street. (Id. at

6, ¶ 18.) Photograph 1 shows the front steps of the house and the gangway leading to the

backyard gate. (M. Carter Aff. Photo 1.)




                  2
                  Viilo disputes the defendants’ proposed finding that Bubba’s teeth and gum s were exposed and
that he was barking and growling, but asserts only that a neighbor observed that Bubba did not try to attack the
officers and was a friendly dog who would never hurt anyone. (Pl.’s Resp. ¶ 15.) That Bubba did not try to attack
the officers does not negate the finding that Bubba’s teeth and gum s were exposed and that he was barking and
growling. Bubba’s history as a friendly dog does not negate the finding, either. See, e.g., Pfeil v. Rogers, 757
F.2d 850 (7th Cir. 1985) (“The fact that the dogs had been gentle in the presence of two persons on another
occasion does not controvert the fact that they allegedly threatened Ducom m un on other occasions in the park
and on Rob’s property by barking, growling, and snapping at him .”).

                  3
                    W hile Viilo disputes this finding , she presents no discussion or citation to evidence contradicting
that this is what the officers did or suggest that there was a way for the officers to avoid the dog. (See Pl.’s Resp.
¶¶ 15, 16.)

                  4
                   Viilo disputes this proposed finding of fact but points only to the evidence that Bubba did not try
to attack the officers and that he was a friendly dog who would never hurt anyone. (Pl.’s Resp. ¶ 17.) Her cited
evidence does not contradict Carter’s affidavit regarding his fear for the safety of the other officers and him self.
(See Carter Aff. ¶ 16.) Viilo can argue that Carter’s fear was unjustified, but she does not negate Carter’s claim
that he was fearful or that he fired his weapon as a result of that fear.

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                 Carter saw Bubba run to the front of the house, in the area of some bushes

located under the front picture window , after it was struck with at least one of his two shots.

(Id. ¶¶ 19-20.)

                 According to Carter, the initial two shots were fired to protect Klotka, Schad,

himself, and other officers from being bitten or otherwise injured by the animal. (Def.’s Br. in

Supp. at 8, ¶ 36; Pl.’s Resp. ¶¶ 27, 36; Carter Aff. ¶ 36.5) Klotka considered himself the “team

leader,” during the attempt to apprehend Arendt at the residence. (Def.’s Br. in Supp. at 8,

¶ 40.) After the dog was shot, Klotka proceeded to the backyard area; made contact with Viilo

and explained why police officers were present and why the dog was shot. (Id. ¶ 41.) Within

minutes of the initial shooting Viilo identified herself as Bubba’s owner to several of the police

officers at the scene. (Pl.’s Resp. ¶ 34; Viilo Decl. ¶ 13; Senatori Decl. Ex. H (Klotka Dep.)

at 28.)

                 Because Carter had fired his weapon, supervisors were called to the scene,

pursuant to standard Milwaukee Police Department (MPD) protocol. (Def.’s Br. in Supp. at

8, ¶ 21.) After twelve minutes, Sergeant Eyre responded to the scene for the standard use-of-

force investigation that results after an officer fires a weapon. (Id. ¶ 22; Pl.’s Resp. ¶ 22; Eyre

Dep. Ex. 12.) During the wait, Carter maintained his position in the front of the residence and

watched Bubba continuously. (Def.’s Br. in Supp. at 6, ¶ 23; Pl.’s Resp. ¶ 23.) According to

Viilo’s expert witness, who performed a necropsy on Bubba, after the initial shooting Bubba


                 5
                   Viilo says she disputes this proposed finding of fact, but she points only to evidence regarding
Bubba’s condition when he cam e out of the bushes after being shot. (See Pl.’s Resp. ¶¶ 36, 27.) She points to
no evidence contradicting Carter’s intent while firing the first two shots, states that Carter’s credibility is for the
jury to determ ine, and does not present any evidence drawing Carter’s credibility into question. See Pfeil, 757
F.2d at 863 (“[A]lthough sum m ary judgm ent is usually not proper in a case involving a weighing of conflicting
questions of m otive and intent, sum m ary judgm ent is proper where the plaintiff presents no indications of m otive
and intent supportive of his position.” (internal quotation m arks om itted)).

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would not have posed any serious threat to officers or witnesses at the scene. (Pl.’s Resp.

¶ 23; Porter Decl. ¶ 10.)

                While Carter remained in front of the residence, other officers went to the rear

yard to continue looking for the suspect, Arendt. (Def.’s Br. in Supp. at 6, ¶ 24.) Carter

observed that a large group of people began to gather across the street. (Id.)

                After arriving at the scene, Eyre spoke with the officers on or near the public

sidewalk. (Id. ¶ 25; Pl.’s Resp. ¶ 25; Eyre Dep. at 33-34; Eyre Aff. ¶ 6.) Eyre observed a

black and white dog, wounded and bleeding, under the bushes in front of the residence, near

a large picture window facing 20th Street. (Def.’s Br. in Supp. at 7, ¶ 26.) Next, Eyre began

to walk south across the front of the property to further investigate the incident. (Id. ¶ 27.6)

                According to Eyre, Bubba existed the bushes with its gums and teeth exposed,

growling and barking. (Def.’s Br. in Supp. at 7, ¶ 27; Eyre Aff. ¶ 8.) At this time, Eyre was in

the area of the sidewalk and the edge of the front lawn, directly in front of 2229 South 20th

Street. (Def.’s Br. in Supp. at 7, ¶ 29.)

                Viilo maintained that Bubba was yelping, crying, whimpering and howling while

crawling, scooting, trying to drag himself, and limping, or trying to use three paws to walk.

(Pl.’s Resp. ¶ 27.) Sandra Carter, one of Viilo’s neighbors (Senatori Decl. Ex. C at 12),

submitted that Bubba was crying and went near Viilo’s house, nudging the window attempting

to get in, after being shot initially (id. at 34). He then “got up. And he started to go around the

side, and this police officer that was on the side there, he raised his gun, and everybody


                6
                  The defendants’ proposed finding of fact includes the proposition that Bubba cam e from the
bushes with his gum s and teeth exposed, growling and barking. Viilo objects, stating Bubba did not com e out
of the bushes with his gum s and teeth exposed, growling and barking. (Pl.’s Resp. ¶ 27.) Viilo does not present
any evidence contradicting Eyre’s actions in walking south. (Id.)

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started crying, they said, ‘Please, don’t shoot him.’” (Id. at 35.) Sandra Carter indicated that

Bubba was about nine feet from the window of the house at that time, in the front lawn area.

(Id.) Later, in questioning at her deposition, Sandra Carter confirmed that Bubba was heading

toward the officer. (Id. at 37.)

              During her depostion, Angela Fleischmann testified that after the initial shots

              Bubba was laying on the ground crying and yelping, and there
              was a bunch of cops standing over him or by him, and we stayed
              on the porch.
                     And Bubba was still crying and yelping, lying on the
              ground, and he tried to get back into the side of the house, the
              gate to get back into his house, and that’s when the police officer
              shot him again.

She indicated that when Bubba moved out from the front window area he headed toward the

walkway leading to the backyard gate. (Id. at 20.) Fleischmann further indicated that there

were two officers in the direction where Bubba was heading, and that Bubba was about three

feet from them. (Id. at 21-22.)

              Viilo’s roommate, Roland Klitzka, stated that from the backyard he

              walked to the gate, [and] opened the gate, and the gate makes a
              metal sound. And I was calling the dog, and as I opened up the
              gate to go out the front, I could see the dog move from in front of
              the house – from what I seen, moving from the front of the house
              to the side. He just kind of like slowly moved over. And when he
              saw me, he sat down, and he looked me right in the eye, and he
              just – in the eyes, and he was just looking at me.

(Senatori Decl. Ex. G at 47.) Witness Wayne Ruh said that Bubba had been located in the

bushes, but then, “for some reason, it decided or I don’t know what made it decide, but it

wanted to go into the yard.” (Senatori Decl. Ex. K at 19.)

              Officer Schad stated that when the dog came from the bushes “it was moving

very erratically. . . . It was almost hopping and kind of dragging itself at the same time.”

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(Senatori Decl. Ex. L at 26.) Schad said that the dog was headed for Eyre. (Id. at 23.)

Further, he said that “for being injured, it was moving pretty quick.” (Id. at 27.) The dog

“wasn’t like limping over to him like slow. It was very erratic in its movements.” (Id.)7

                 Thus, although Klitzka’s testimony that Bubba was looking him in the eye

controverts Eyre’s statement that Bubba’s teeth were bared at him, and there is conflicting

evidence as to how fast Bubba was moving, it is undisputed that Bubba headed in the general

direction of officers Carter and Eyre after leaving the bushes. Photograph 1, which depicts

the gangway and gate, shows the approximate area where Carter stood, confirms the

walkway to which Bubba may have been headed was near Carter’s location. Also, the expert

who conducted a necropsy on Bubba stated that, Bubba could not then have charged at

anyone with the intent to attack, due to the injuries caused by the initial shots. (Pl.’s Resp.

¶ 27; Porter Decl. ¶¶ 9-10.)

                 According to Eyre, he began to pull his weapon because he feared for his

safety. (Def.’s Br. in Supp. at 7, ¶ 28; Pl.’s Resp. ¶ 28.8) But, he realized that if he fired his

weapon the bullets might ricochet and injure people in the area. (Def.’s Br. in Supp. at 7, ¶

28; Pl.’s Resp. ¶ 28.9)



                 7
                 Viilo also cites the deposition testim ony of neighbor W anda Centeno at pages 17 and 19.
Centeno stated that Bubba was howling and crawling and trying to drag him self back to the yard, but it appears
she was describing what Bubba did after the first two shots, not after he cam e out of the bushes. (See Senatori
Decl. Ex. D at 17, 19.)

                 8
                 Viilo disputes this finding of fact based on Bubba’s condition as noted by witnesses and her
expert, and contends that a jury m ust judge Eyre’s credibility. (Pl.’s Resp. ¶ 28.) Other than unsupported
questioning of Eyre’s credibility, Viilo does not present anything contradicting Eyre’s statem ent that he feared for
his safety.

                 9
                Viilo states she objects to this proposed finding of fact but provides no discussion or citation to
evidence contradicting Eyre’s assessm ent of the possible consequences of firing his weapon. (See Pl.’s Resp.
¶ 28.)

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                 Eyre observed that Carter had his shotgun at the ready and was in a better

tactical position. (Id. ¶ 30) Therefore, he ordered Carter to shoot Bubba. (Id.) Consequently,

Carter shot the dog, causing it to drop to the ground. (Id. ¶ 31.) Eyre observed that Bubba

was shot in the chest area, appeared to be in great pain and was fatally wounded. (Id. ¶ 32.)

Eyre then ordered Carter to fire again, to put Bubba down. (Def.’s Br. in Supp. at 7, ¶ 33; Pl.’s

Resp. ¶ 33.) Eyre maintains that given the degree of blood and injury that he observed, he

ordered Carter to fire the final shot so that Bubba would not suffer unnecessarily. (Def.’s Br.

in Supp. at 7, ¶ 33; Pl.’s Resp. ¶ 33; Eyre Aff. ¶ 14.) However, the “use of force” report on the

incident, indicates that four police witnesses said the final two shots occurred because Bubba

had his gums and teeth exposed; three of those witnesses said that they saw no means of

escape or that the dog was charging. None said the fourth shot was to prevent Bubba’s

suffering. (Pl.’s Resp. ¶ 33; Senatori Decl. Ex. T at 3-4.) On the other hand, Carter said he

fired the third shot intending to protect Eyre, himself, and other officers, and that the fourth

shot was intended to put the animal down because it was in great pain and fatally wounded.

(Def.’s Br. in Supp. at 8, ¶ 37; Pl.’s Resp. ¶ 37, 27.)

                 Carter knew before the third and fourth shots that Bubba was not a pit bull and

was told by the crowd after the initial shot that Bubba was not a vicious dog. (Pl.’s Resp. ¶

34; Senatori Decl. Ex. B at 33-34, 43-44.) However, at that time Carter did not know if Arendt

had been found, and did not know the results of any investigation by the officers who had

gone to the rear of the house. (Def.’s Br. in Supp. at 7-8, ¶ 34; Pl.’s Resp. ¶ 34.10) Thus, he




                 10
                 Viilo objects to this proposed finding, but her objection is off-point. That Bubba was not Arendt’s
dog does not m ean that Arendt could not have been in or behind the house.

                                                        11




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was unaware that Bubba belonged to Viilo or that Bubba was not Arendt’s dog. (Defs.’ Br.

in Supp. at 8, ¶ 35; Carter Aff. ¶ 35.11)

                 Within minutes of the initial shot, Viilo told officers she did not know Arendt.

(Pl.’s Resp. ¶ 38.) Nevertheless, Viilo and the other people with her were detained in her

backyard while officers determined if Arendt was in her residence. (Def.’s Br. in Supp. at 8,

¶ 38.12) The officers did not let her go into her house or front yard and did not let her call a

veterinarian. (Pl.’s Resp. ¶ 38.)

                  Eyre was acting as a supervisor at the scene. (Pl.’s Resp. ¶ 39.) However,

neither Carter nor Eyre was present in the backyard while Viilo was detained there; they were

located at the front of the residence and were not involved with any act or decision to detain

Viilo in the backyard. (Def.’s Br. in Supp. at 8, ¶ 39; Pl.’s Resp. ¶ 39.13) Klotka did not allow

Viilo to leave the backyard and go to Bubba inasmuch as he did not want Viilo to be injured

by the dog, the scene was not secure and it had not been confirmed whether Arendt was in



                 11
                    Viilo asserts in response to proposed finding ¶ 35 that this fact is disputed, but the only
evidence she presents on this m atter is that between the second and third shots Carter realized that the dog was
not a pit bull and that Viilo told officers within m inutes that she was Bubba’s owner. In her declaration Viilo fails
to state that she told Carter that the dog was hers and she adm its that she did not go into the front yard, where
Carter was located. (Viilo Decl. ¶ 13.) Thus, she does not refute defendants’ proposed finding and evidence.
She also contends that Carter’s credibility is a m atter for the jury, but again presents no evidence drawing Carter’s
credibility into question.

                 12
                  Viilo says she disputes this proposed finding, but her response is off-point. (Pl.’s Resp. ¶ 38.)
W hether she told officers she did not know Arendt does not negate that the officers detained her while they
checked out her residence. The officers were not required to stop the search based on her claim that she did
not know Arendt. Moreover, Viilo’s m other gave officers perm ission to search the residence. (Def’s Br. in Supp.
at 9, ¶ 44)

                 13
                   Viilo says she disputes this proposed finding of fact, but again her response – that Eyre was
a supervisor and talked with officers at the front of the house and that Carter was told Bubba was friendly – is off-
point. (See Pl.’s Resp. ¶ 39.) Eyre and Carter both stated under oath that they were not involved with the act
or decision to detain Viilo in the backyard. (Eyre Aff. ¶ 19; Carter Aff. ¶ 39.) Viilo presents no evidence in
response indicating Carter and Eyre were anywhere other than the front yard or were directing the officers in the
backyard.

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the house. (Def.’s Br. in Supp. at 9, ¶ 42; Pl.’s Resp. ¶ 42) At some point, MADACC, a

private animal control organization, was called. (Senatori Decl. Ex. E (Eyre Dep.) at 51-52,

Dep. Ex. 12 at 1.) )

              MPD rules and procedures provide as follows:

              RULE 4 – GENERAL RULES AND REGULATIONS

              2/445.00 When appropriate, a police officer may use force in the
              performance of duty. However, the degree of force used shall be
              only that which a reasonable police officer would deem
              necessary, given the same circumstances and information.

                     Force that is intended or likely to cause great bodily harm
              or death, may only be used:

                       ....

                     3. To kill an animal if the officer or another person is
              threatened with serious bodily harm by the animal or otherwise to
              provide for the safety of the general public.

                    4. To kill an animal that has been so badly injured that its
              destruction would prevent further suffering . . . .

                       ....

                     In all cases where a firearm is discharged by a member .
              . . . such members shall as soon as possible notify their
              immediate supervisor.

(Def.’s Br. in Supp. at 9-10, ¶ A.) According to James MacGillis, the lead firearms instructor

for the MPD, section 2/445.00 summarizes the key elements of MPD training regarding the

use of deadly force against animals. (MacGillis Aff. ¶ 5.) MacGillis avered that, “police

personnel are also instructed regarding tactics for restraining and/or controlling animals,

including the use of a dog snare, baton, pepper stray and fire extinguishers. However,




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officers are directed that, when possible, to contact [sic] MADACC (a private animal control

organization) for assistance with controlling and restraining animals.” (Id. ¶ 6.)

                 At deposition Carter testified that he did not recall if he received training at the

police academy regarding methods of restraining dogs. (Senatori Decl. Ex. B (M. Carter

Dep.) at 11-12.14) He stated that they did not train with actual dogs and that

                 if we even talked about it, the most we probably had was there is
                 a snare in the car that you can use the snare to get the dog.
                        No one actually trained me how to use the snare, put it
                 around the dog’s neck to contain the dog or restrain the dog.


(Id. at 12.) He stated that such snares were standard police equipment in squad cars. (Id.)

Regarding training in the use of methods to restrain dogs, such as the use of pepper spray,

Carter stated that if there was any such training it was just talking about it. (Id.) During

academy training he did not see any film or hear any outside lecturer discuss how to deal with

dogs. (Id. at 13.)

                 MacGillis admitted at deposition that less than one hour of the five-month-long

police recruit training program consisted of training in non-lethal methods of restraining dogs,

that recruits do not exercise any such skills during training, and that recruits are not shown

how to use a dog snare or baton to restrain a dog. (Senatori Decl. Ex. I (MacGillis Dep.) at

37-38.) He admitted that officers are not specifically trained to differentiate between a barking



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                    In response to defendants’ proposed findings that M ilwaukee police officers are trained
regarding policy 2/445.00 and are instructed regarding tactics for restraining anim als, Viilo did not set forth “[a]
specific response to the m ovant’s proposed findings of fact,” as required by Civil L.R. 56.2(b)(1). Instead, she
states m erely that “[t]he deposition testim ony of Sergeant MacGillis and Officer Carter refute this conclusion” and
points the court to fourteen pages of deposition testim ony and defendants’ entire response to her request for
production of docum ents. (Pl.’s Resp. ¶ B.) Viilo needed to respond specifically as to how her evidence conflicts
with defendants’ proposed findings regarding the training of officers. Nevertheless, the court has pulled out the
possible facts she could use from the deposition pages cited to construct the following paragraphs.

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dog and a dangerous dog, nor are officers trained in a dog’s body language. (Id. at 40-41.)

Further, the City of Milwaukee does not have any written recruit training materials regarding

section 2/445.00. (Id. at 44.) Officers do receive field training regarding squad equipment,

including use of the dog snare, but are not taught how to use a baton or pepper spray to

restrain a dog. (Id. at 46-47.) However, there are no on-the-job written training materials for

officers regarding non-lethal methods of restraining dogs. (Id. at 52.)

                                        DISCUSSION

              The court has subject matter jurisdiction under 28 U.S.C. § 1331 and 1343. The

Eastern District of Wisconsin is the proper venue for the action under 28 U.S.C. § 1391(b),

and both parties admit to venue here (Def.’s Br. in Supp. at 3, ¶ 2 Jurisdiction & Venue).

A.     Claims Against Supervisory Personnel and Unnamed Police Officers

              Viilo filed her complaint against the City of Milwaukee, Eyre, Carter, and

additional unknown persons. She named “Supervisory Personnel,” described as “unknown

supervisors employed by the Milwaukee Police Department,” and “Police Officers,” described

as “unknown police officers employed by the Milwaukee Police Department.” (Pet. for

Removal, Ex. Compl. & Jury Demand at 1 (caption).) The unknown police personnel were

named defendants in their individual and official capacities. (Id. at 3.)

              The court set a deadline of July 11, 2005, for amending the pleadings and

adding parties to this case. However, Viilo did not amend her complaint by that date to

identify these defendants, and she failed to provide proof of service of the complaint on any

defendants other than those already named. Moreover, after the deadline passed, she did

not move for leave to amend her complaint to name any officers or supervisory personnel

identified during the course of discovery.

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              Viilo cannot obtain judgment against unnamed persons who have not been

served with the complaint and summons. Therefore, all claims against these unknown,

unnamed defendants, in their individual and official capacities, must be dismissed.

B.     Claims Against Eyre, Carter, and the City of Milwaukee

              To state a claim for relief under 42 U.S.C. § 1983 a plaintiff must allege: (1) that

she was deprived of a right secured by the Constitution or laws of the United States, and (2)

that the deprivation was visited upon her by a person or persons acting under color of state

law. Gomez v. Toledo, 446 U.S. 635, 640 (1980); Alvarado v. Litscher, 267 F.3d 648, 651

(7th Cir. 2001).    Here, the second element of Viilo’s claim is met; defendants are a

governmental subdivision and its police officers, and for purposes of this motion they do not

dispute that they acted under color of state law. However, the question is whether any rights

under the Constitution have been infringed.

              In the complaint, Viilo asserts: (1) a Fourth Amendment claim for the seizure

of Bubba by Eyre and Carter (Pet. for Removal, Ex. Compl. & Jury Demand at 6); (2) a

substantive due process claim against Eyre and Carter for the malicious and intentional

permanent deprivation of her fundamental right of freedom from unlawful seizure of her

property (id. at 9); (3) a Fourth Amendment claim for the seizure of Viilo by Eyre and Carter

(id. at 9-10); and (4) a failure by the City to instruct, supervise, control and discipline police

officers in their duties regarding the killing of dogs and use of force against dogs that pose no

immediate danger (id. at 7-8). Viilo seeks compensatory and punitive damages as well as

injunctive relief concerning the training of police officers and supervisors regarding non-lethal

methods of restraining dogs. (Id. at 11.)



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       1.     Fourth Amendment Claim for the Seizure of Bubba

              The Fourth Amendment provides for the “right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.” U.S.

Const. amend. IV. “Effects” means personal property. Altman v. City of High Point, N.C., 330

F.3d 194, 200-202 (4th Cir. 2003). A “seizure” of personal property occurs when “there is

some meaningful interference with an individual’s possessory interests in that property.”

Soldal v. Cook County, Ill., 506 U.S. 56, 61 (1992) (internal quotation marks omitted); Altman,

330 F.3d at 204 (4th Cir. 2003); Robinson v. Solano County, 278 F.3d 1007 (9th Cir. 2002);

Brown v. Muhlenberg Twp., 269 F.3d 205, 209 (3d Cir. 2001); Lesher v. Reed, 12 F.3d 148,

150 (8th Cir. 1994); Fuller v. Vines, 36 F.3d 65, 67-68 (9th Cir. 1994), overruled on other

grounds. Destruction of personal property is such a “meaningful interference,” as it changes

a temporary deprivation into a permanent deprivation. Altman, 330 F.3d at 205; Brown, 269

F.3d at 209-10; Fuller, 36 F.3d at 68. The seizure of property is subject to Fourth Amendment

scrutiny even if no search occurred. Soldal, 506 U.S. at 68.

              Defendants contend that under Seventh Circuit precedent, no Fourth

Amendment seizure claim can be stated for the killing of a dog, citing Pfeil v. Rogers, 757

F.2d 850 (7th Cir. 1985). This court disagrees with the defendants’ reading of Pfeil. In Pfeil,

the question was whether the defendants needed a warrant to seize dogs not whether dogs

were property that would be considered seized if killed. The plaintiff argued that the

defendant officers’ warrantless entry onto private property was not authorized by Wisconsin

law, so the officer had to obtain a warrant before entry. 757 F.2d at 864. The Seventh Circuit

rejected the plaintiff’s argument under Wisconsin law, finding that pursuant to a statute in

effect at that time, officers did not need a warrant to enter private property to seize an

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unlicensed dog that had been observed running at large. Id. at 864-65. Because the court

disagreed with the argument under Wisconsin law, no other issue remained respecting

plaintiff’s Fourth Amendment claim. Id. at 865.

              The Fourth Circuit agrees with this court’s interpretation of Pfeil.        The

defendants in Altman v. City of High Point, N.C., pointing to Pfiel, argued that the Seventh

Circuit held that dogs were not property protected by the Fourth Amendment. 330 F.3d 194,

200 & n.6 (4th Cir. 2003). The Fourth Circuit rejected the argument, saying:

              It is true that the Pfeil court did conclude that the officers’ conduct
              in shooting the dogs did not support a section 1983 action
              “because it did not violate a right guaranteed under the United
              States Constitution.” [Pfeil, 757 F.2d] at 866. But we think that
              the defendants read too much into this blanket statement. It does
              not appear from the Seventh Circuit’s opinion in Pfeil that the
              court was considering whether the officers’ conduct constituted a
              Fourth Amendment seizure of the dogs. Indeed, the Seventh
              Circuit characterized the plaintiff’s Fourth Amendment claim as
              one for warrantless entry and had dismissed that claim earlier in
              the opinion. See id. at 865. Because the Seventh Circuit did not
              consider whether the actions constituted a Fourth Amendment
              seizure of the dogs, it can hardly be said that its opinion included
              a holding with respect to that issue.

Id. at 200 n.6. Pointing to cases from the Third, Eighth, and Ninth Circuits, and disregarding

the Pfeil case, the Fourth Circuit observed that other circuits “uniformly concluded . . . that

dogs are indeed so protected.” Id. at 200. Because the Fourth Circuit thought the other

circuits’ decisions were based only on conclusory assertions, it conducted an in-depth

analysis and concurred that dogs are “effects,” or personal property, protected by the Fourth

Amendment. Id. at 203.

              In Siebert v. Severino, the Seventh Circuit held that “[t]he removal of an animal

constitutes a ‘seizure’ for purposes of the Fourth Amendment, and thus such a seizure must


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meet that Amendment’s constitutional requirements.” 256 F.3d 648, 656 (7th Cir. 2001).

Although the court was considering the seizure of horses rather than dogs, its use of the

general word “animal,” citation to the Lesher case, and failure to note any constraint based

on Pfeil suggest that the Seventh Circuit would rule no differently in a case involving a dog.

Finally, in Ellis v. City of Chicago, which predated Pfeil by a few years, the Seventh Circuit did

not note any problems with a Fourth Amendment claim for the killing of a dog inside the

plaintiffs’ house. 667 F.2d 606, 610 (7th Cir. 1981).

              Thus, a dog is an effect or personal property that can be seized. Andrews v.

City of W. Branch, Iowa, 454 F.3d 914, 918 (8th Cir. 2006); Altman, 330 F.3d at 203; Brown,

269 F.3d at 210; Fuller, 36 F.3d at 68; see Lesher, 12 F.3d at 150-51; see Siebert, 256 F.3d

at 655-56; Rabideau v. City of Racine, 2001 WI 57, ¶ 5. And, the killing of a dog “is a

destruction recognized as a seizure under the Fourth Amendment.” Fuller, 36 F.3d at 68;

accord Altman, 330 F.3d at 205; Brown, 269 F.3d at 210.

              The question here is whether the seizure of Bubba was unreasonable under the

circumstances. See Andrews, 454 F.3d at 918. A warrantless seizure is presumptively

unreasonable unless it falls within a well-defined exception. Altman, 330 F.3d at 205; Lesher,

12 F.3d at 151; see Brown, 269 F.3d at 210. However, a warrantless seizure may be

reasonable if the governmental interest justifying the seizure is sufficiently compelling and the

nature and extent of the intrusion is not disproportionate to that interest. Brown, 269 F.3d at

210. The nature and quality of the intrusion on the individual’s Fourth Amendment interests

must be balanced against the importance of the government’s interests allegedly justifying

the intrusion. Andrews, 454 F.3d at 918. The government’s interest in protecting life and



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property may be implicated when a pet poses an imminent danger. Id. On the other hand,

police officers have been found to violate Fourth Amendment rights “when [they] shoot[] and

kill[] an individual’s family pet when that pet presented no danger and when non-lethal

methods of capture would have been successful.” Id.; accord Brown, 269 F.3d at 210-11.

The decision does not turn on the subjective intent of the officer; the test is objective. Altman,

330 F.3d at 205. However, the court must allow for a police officer’s need to make split-

second judgments about the amount of force necessary, in circumstances that are uncertain

and rapidly evolving. Id.

              In her opposition brief, Viilo concedes that the first two shots Carter fired at

Bubba were reasonable. (Pl.’s Br. in Opp’n at 2 (“This case, however, is not about the initial

shooting: it is about the events that transpired thereafter.”).) Police were looking for a

suspect at 2229 South 20th Street, who was known to be armed and in the company of a pit

bull. And, Bubba jumped a fence from the backyard of 2229 South 20th Street, then headed

for officers in the front yard of that home. Carter saw a black and white dog jump the fence

and run toward Klotka and Schad. Bubba was exposing his gums and teeth, and Carter

observed that there was no plausible means for Klotka and Schad to escape the animal. That

Bubba was friendly to others on prior occasions is immaterial; Carter had to react to the

events of that day. While Bubba was a labrador retriever/springer spaniel mix owned by Viilo

rather than a pit bull owned by the suspect does not change the analysis. Under the

circumstances known to Carter at the time, he was faced with a loose, charging, growling dog,

who had just jumped a fence, at a location where a pit bull was anticipated. He had to make

a split second decision, and no reasonable jury would find that Carter’s decision – firing the

first two shots at Bubba – was objectively unreasonable. As observed by the Fourth Circuit,

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“[w]hen a dog leaves the control of his owner and runs at large in a public space, the

government interest in controlling the animal and preventing [harassment or attacks on people

or other pets, among other harms] waxes dramatically, while the private interest

correspondingly wanes.” Altman, 330 F.3d at 205.

              To recover under § 1983 a plaintiff must establish that a defendant was

personally responsible for the deprivation of a constitutional right. Sanville v. McCaughtry,

266 F.3d 724, 740 (7th Cir. 2001). An official is not liable merely because he supervises

someone who commits a constitutional violation. See id. However, direct participation is not

required. Palmer v. Marion County, 327 F.3d 588, 594 (7th Cir. 2003). An official satisfies the

personal responsibility requirement of § 1983 if the conduct causing the constitutional

deprivation occurs at his direction or with his knowledge and consent. Sanville, 266 F.3d at

740.

              Viilo’s claims are based on the third and fourth shots fired at Bubba.

Defendants submit that the claims against Eyre should be dismissed because Carter alone

fired his weapon. However, the evidence indicates that Eyre directed Carter to fire the third

and fourth shots. Therefore, Eyre and Carter were working together in seizing Bubba, and

the claims against Eyre should not be dismissed.

              Defendants further contend that the third shot was fired because of the risk

Bubba posed to Eyre and other individuals in the area:

              At that time, the dog was a wounded animal. As such, common
              sense and general experience establish that the dog’s behavior
              was not predictable. The dog suddenly came out from its spot of
              retreat near the bushes, and headed toward Sergeant Eyre. No
              one present could be certain of the dog’s intentions. Therefore,
              it was reasonable and appropriate for Officer Carter to fire his
              weapon at the dog the third time.

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(Defs.’ Br. in Supp. at 16.)

              Nevertheless, a genuine issue of material fact exists regarding the third shot.

It is undisputed that when Bubba came from the bushes, he was headed in the general

direction of Carter and Eyre. But, it is unclear whether Bubba moved toward Carter and Eyre

in a way that posed a danger to the officers and whether Bubba turned toward the backyard.

Prior to the third shot, Carter knew that Bubba was not a pit bull and the crowd stated that

Bubba was not a dangerous dog. Also, witnesses indicate that before the third shot Bubba

left the bushes slowly or while limping – in other words, not charging or acting like he would

attack. Klitzka testified that the dog was looking at him (rather than the officers) and sitting

down when he was shot. Fleischmann advised that Bubba was headed toward the gate.

Further, Viilo’s expert stated that with injuries Bubba could not have charged at anyone with

the intent of attacking them.

              A good chunk of evidence suggests that Carter’s action in firing the third shot

was reasonable. Eyre says Bubba exited the bushes growling and with his teeth bared. On

the other hand, Schad states that Bubba was moving quickly and erratically – thus

unpredictably.   Based on the deposition testimony, affidavits, and photographs, it is

undisputed that the distance between Bubba and the officers was not great. Hence, it is clear

that Bubba was headed toward the officers or toward Klitzka in the backyard.

              However, construing the facts in Viilo’s favor, the court cannot say that no

reasonable jury could rule for her. A reasonable jury could find that at Eyre’s order Carter

shot Bubba as he was crying, sitting down, moving slowly, or headed to the backyard, and not

while he was posing an immediate danger to the officers or others.



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                 As for the fourth shot, Carter says he fired because he was ordered to do so by

Eyre and believed the dog was fatally wounded and in great pain. Defendants contend that

“[p]utting the dog down at that point in time was the humane thing to do” (Defs.’ Br. in Supp.

at 16) and comported with MPD rules and procedures.

                 The evidence suggests that Carter’s third shot caused Bubba to drop to the

ground.15 Eyre observed that Bubba had been shot in the chest area, and appeared to be in

great pain and fatally wounded; now Eyre says that given the degree of blood and injury that

he observed, he ordered Carter to fire the final shot because he did not want the dog to suffer

unnecessarily. However, according to the use of force report on the incident, at least four

police witnesses indicated that at the final shot they feared for their safety because Bubba

had his gums and teeth exposed, and no mention was made of an intent to prevent the dog’s

suffering.

                 The evidence suggests that although Bubba was injured by the first two shots,

he was not necessarily near death. Even taking defendants’ version as true, i.e., that the

fourth shot was necessary to end Bubba’s suffering, the fourth shot would not have been

required if the third shot was fired unlawfully. Thus, the two shots should be considered

together. Further, the facts must be viewed in Viilo’s favor. Thus, the court also considers

that the use of force report does not mention the need to end Bubba’s suffering. In the use

of force report on the incident, police witnesses indicate that when the final shot was fired they

feared for their safety because Bubba’s gums and teeth were exposed. As a consequence,

the veracity of the present explanation is drawn into question.


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                  Klitzka testified at deposition that the third shot m issed (Senatori Decl. Ex. G at 48), but Viilo
does not point out that fact.

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              In sum, summary judgment must be denied as genuine issues of material fact

exist regarding the third and fourth shots fired by Carter.

              Carter and Eyre argue that even if a constitutional violation occurred, they are

entitled to qualified immunity. The defense of qualified immunity shields government officials

performing discretionary duties “from liability for civil damages insofar as their conduct does

not violate clearly established statutory or constitutional rights of which a reasonable person

would have known.” Harlow v. Fitgerald, 457 U.S. 800, 818 (1982). Qualified immunity is an

immunity from suit, i.e., an entitlement not to stand trial. Saucier v. Katz, 533 U.S. 194, 200-

01 (2001). Assuming the facts show that an officer’s conduct violated a constitutional right,

the court then determines whether the right was clearly established at the time, in light of the

specific context of the case. Id. at 201. A right is clearly established when the “‘contours of

the right [are] sufficiently clear that a reasonable official would understand that what he is

doing violates that right.’ The relevant, dispositive inquiry . . . is whether it would be clear to

a reasonable officer that his conduct was unlawful in the situation he confronted.” Id. at 202

(quoting Anderson v. Creighton, 483 U.S. 635, 640 (1987)); Brown, 269 F.3d at 211. A

violation of federal law may be clear from precedent, either from the Supreme Court or the

circuit in which the case arises, or from a consensus of cases from other circuits. Altman, 330

F.3d at 210; see Wilson v. Layne, 526 U.S. 603, 617 (1999).

              Officers may make reasonable mistakes regarding legal constraints on their

conduct and still receive qualified immunity. Saucier, 533 U.S. at 205. If an officer correctly

perceives the facts but has a mistaken understanding as to whether his actions are legal in

those circumstances, if his mistake as to what the law requires is reasonable, then he is

entitled to immunity. See Saucier, 533 U.S. at 205.

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               Carter and Eyre submit that under Pfeil they could reasonably believe that the

shooting of Bubba was not actionable. However, Pfeil noted the 1981 repeal of Wis. Stat. §

174.10 (1974), allowed the shooting of an unlicensed dog without a warrant if the dog had

been observed running at large. Pfeil, 757 F.2d at 864 n.21. Further, as stated above, the

defendants reading of Pfeil is unpersuasive. No reasonable officer could have relied on Pfeil,

especially after Siebert, to believe that in 2004 the killing of a dog in this circuit did not

constitute a seizure under the Fourth Amendment. Moreover, Rabideau confirms for police

officers that under state law, a dog is considered personal property.

               Carter and Eyre submit that “[n]o case law clearly provides that it is unlawful for

a police officer to shoot a charging, loose dog, when the officer believes that the dog poses

a threat to the safety of the officer, other officers, or citizens in the area.” (Defs.’ Br. in Supp.

at 20.) While this view of the incident may accurately reflect the situation surrounding the first

and second shots, it does not accurately reflect the third and fourth. The facts seen in the

light most favorable to Viilo show that the third and fourth shots were not at a charging dog.

               Under the Fourth Amendment, property cannot be seized unreasonably. Under

Brown, Altman, Lesher, and Fuller – a consensus of cases from the Third, Fourth, Eighth and

Ninth Circuits – and Siebert and Rabideau, at the time Bubba was shot, the law clearly

provided that dogs were personal property and that shooting a dog could be considered an

illegal seizure. Even in 2001, the Third Circuit found under then-existing Supreme Court law

and a Pennsylvania statute declaring dogs to be personal property that a reasonable police

officer should have known that he could not lawfully destroy a dog “who posed no imminent

danger and whose owners were known, available, and desirous of assuming custody . . . .”

Brown, 269 F.3d at 211. In Andrews, the Eighth Circuit found that as of February 2002 a

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reasonable officer could not have concluded that it was lawful to destroy a pet who was

enclosed in his owner’s fenced-in yard, with the owner standing just a few feet away from the

dog. 454 F.3d at 916, 919. Similarly, the Ninth Circuit found that as of January 1998, then-

existing case law alerted any reasonable officer that he or she could not kill a person’s dog

when the killing was unnecessary and less destructive alternatives existed. San Jose Charter

of Hells Angels Motorcycle Club v. City of San Jose, 402 F.3d 962, 977-78 (9th Cir. 2005).

             Even regarding qualified immunity the facts must be taken in Viilo’s favor. Thus,

for the purpose of the pending motion, the court must assume that Bubba was not posing a

safety threat and was sitting or crawling and limping slowly, toward the backyard. Moreover,

Bubba’s owner was available and desirous of assuming custody. Although Carter may not

have known that Viilo was the dog’s owner, he knew that Bubba was not a pit bull, and was

told by people nearby that Bubba was a friendly neighborhood dog. Also, Klitzka was calling

Bubba from the backyard. Upon this backdrop, there is a genuine issue as to whether Bubba

posed no imminent danger at the time the third and fourth shots were fired. In addition, the

court cannot conclude that at the time of the third shot (and possibly the fourth) that Bubba

was close to death such that ending his suffering was then a reasonable consideration.

      2.     Substantive Due Process Claim for the Seizure of Bubba

             In their brief in support of summary judgment, defendants attack what they

believe to be a procedural due process claim. In response, Viilo clarifies that she is not

asserting a procedural due process claim. (Pl.’s Br. in Opp’n at 45.) On the other hand,

nowhere in her response brief does Viilo indicate that she intends to pursue the substantive

due process claim raised in her complaint. Thus, it appears that Viilo’s substantive due

process claim has been abandoned.

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               Moreover, where the Constitution or its amendments provide an explicit textual

source of protection, that provision, rather than the generalized notion of substantive due

process, governs analysis of a claim. Graham v. Connor, 490 U.S. 386, 395 (1989). Several

courts have recognized that the killing of a pet dog by a police officer constitutes a seizure

analyzed under the Fourth Amendment; thus, that amendment rather than the substantive

due process clause must serve as the basis of Viilo’s claim. See Andrews v. City of W.

Branch, Iowa, Nos. C03-0009, C04-0033, 2004 WL 2808385, *2 n.1 (N.D. Iowa Dec. 7, 2004),

aff’d on this ground but overruled on other grounds, 454 F.3d 914, 917 (8th Cir. 2006);

Dziekan v. Gaynor, 376 F. Supp. 2d 267, 270 (D. Conn. 2005); Harvey v. Morabito, No.

9:99CV1913HGM/GL, 2003 WL 21402561, *5 (N.D.N.Y. June 17, 2003); see also Graham,

490 U.S. at 394-95 (holding that all claims that law enforcement officers used excessive force

are to be analyzed under Fourth Amendment law rather than substantive due process law).

       3.      Fourth Amendment Claim for the Seizure of Viilo

               The undisputed facts show that Carter and Eyre remained in the front yard and

were not involved personally in detaining Viilo in the backyard. Other officers went to the rear

yard to locate Arendt. Klotka met Viilo and explained to her why police officers were present

and why Bubba was shot. But, Klotka is not a named defendant in this lawsuit even though

it was he, rather than Carter, Eyre or other officers who did not allow Viilo to leave the yard

and go to Bubba. Consequently, no reasonable jury could find Carter and Eyre liable of an

illegal seizure of Viilo.

       4.      Claim of Inadequate Training by the City

               Although municipalities are “persons” for purposes of § 1983, liability against

them cannot arise vicariously. Monell v. Dep’t of Soc. Servs. of City of New York, 436 U.S.

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658, 691-92 (1978). Instead, municipalities are liable only for acts for which the entity is

responsible, meaning acts the entity has embraced as policy or custom. Id. at 690-91, 694.

To show such responsibility, a plaintiff must prove that (1) the alleged deprivations were

conducted pursuant to an express policy, statement, ordinance, or regulation that, when

enforced, caused the constitutional deprivation; (2) the conduct was one of a series of

incidents amounting to an unconstitutional practice so permanent, well-settled, and known to

the city as to constitute a “custom or usage” with force of law; or (3) the conduct was a

decision of a municipal policymaker with final policymaking authority in the area in question.

McCormick v. City of Chicago, 230 F.3d 319, 324 (7th Cir. 2000); McTigue v. City of Chicago,

60 F.3d 381, 382 (7th Cir. 1995); see Monell, 436 U.S. at 690-91. Moreover, the plaintiff must

show a “direct causal link between a municipal policy or custom and the alleged constitutional

deprivation.” City of Canton, Ohio v. Harris, 489 U.S. 378, 385 (1989).

                  Viilo’s claim is that the City of Milwaukee is liable for its “policy” or “custom” of

failing to adequately train its police officers regarding their handling of dogs.16 Failure to train

gives rise to § 1983 liability in limited circumstances. Id. at 387. Inadequate police training

causes § 1983 liability “only where the failure to train amounts to deliberate indifference to the

rights of persons with whom the police come into contact.” Id. at 388. Only where the failure

to train reflects a deliberate or conscious choice by the municipality can it be liable for such

a failure. Id. at 389.




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                    Viilo does not sufficiently address in her brief any other claim s for m unicipal liability set forth
in her com plaint, such as failure to supervise or discipline. Therefore, the court finds that any such claim s have
been abandoned.

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              The court must look at (1) whether the training program is adequate, and, if it

is not, (2) whether such inadequate training can be said to represent city policy. Id. at 390.

              It may seem contrary to common sense to assert that a
              municipality will actually have a policy of not taking reasonable
              steps to train its employees. But it may happen that in light of the
              duties assigned to specific officers or employees the need for
              more or different training is so obvious, and the inadequacy so
              likely to result in the violation of constitutional rights, that the
              policymakers of the city can reasonably be said to have been
              deliberately indifferent to the need.

Id. That a particular officer is unsatisfactorily trained is not enough to show municipal liability,

as factors other than training could have caused that officer’s shortcomings. Id. at 390-91.

Nor is it sufficient to show simply that an injury could have been avoided if an officer had had

certain additional training. Id. at 391.

              Thus, to survive summary judgment on a failure to train claim, Viilo “must

present evidence that the need for more or different training was so obvious and so likely to

lead to the violation of constitutional rights that the policymaker’s failure to respond amounts

to deliberate indifference.” See Brown, 269 F.3d at 216. Further, she must show that the

deficiency in training actually caused the officers’ violations of her rights. See City of Canton,

489 U.S. at 391.

              In Brown, the Third Circuit found that although police officers received no formal

training directed at the handling of dogs, the police policy manual provided the officers with

guidance. 269 F.3d at 216. The policy in Brown contained language similar to MPD’s policy

that the degree of force to be used was only that which is reasonable and necessary to

address the situation facing the officer. See id. at 216. The Brown court found that no




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reasonable trier of fact could conclude that the need for further guidance was so obvious as

to constitute deliberate indifference by the town to the plaintiffs’ constitutional rights. Id.

              This court is satisfied that no reasonable jury could find that the need for more

or different training was so obvious that the failure to have such training constitutes deliberate

indifference. As in Brown, section 2/455.00 provides officers with guidance on the use of

force against dogs. MacGillis stated that officers were trained at the police academy

regarding the use of force against humans and animals as stated in section 2/455.00.

(MacGillis Aff. ¶ 5; e.g., Senatori Decl. Ex. I at 33, 35-37.) In addition, officers were instructed

regarding the snare included as equipment in squad cars and regarding the use of batons and

pepper spray to control animals. (MacGillis Aff. ¶ 6.)

              Viilo has pointed out that officers did not receive more than an hour or two on

training specifically related to dogs, but the quantity of time spent on dog-specific matters has

little meaning. The officers’ training regarding the use of force in general, and the use of

batons and pepper spray in general, also relates to the use of force against dogs. Moreover,

Viilo does not establish how more time spent on dog-specific training would make a

difference. She emphasizes the lack of hands-on physical training regarding the use of a

snare, but fails to establish how such training would have made a difference in this case.

Next, Viilo maintains the lack of written materials on non-lethal restraint of dogs and the lack

of instruction on dog behavior. Although such materials and instruction might be useful, no

reasonable jury could say that their absence is glaring, especially because officer are told to

contact MADACC for assistance when possible.

              It is not enough to show that an injury could have been avoided if an officer had

had certain additional training, City of Canton, 489 U.S. at 391, or that additional training

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would be better. The need for additional training must be very obvious, and its absence

extremely likely to result in the violation of constitutional rights. Hence, Viilo has failed to

show that even though the court has construed the facts in her favor, that further guidance

to police officers regarding the use of non-lethal force against dogs was so obvious that the

City of Milwaukee was deliberately indifferent in not offering it.

              That a particular officer is trained unsatisfactorily is not enough to show

municipal liability. Id. at 390-91. Officer Carter testified that he could not remember training

regarding the use of pepper spray to control dogs; however, his failure to recall such training

does not mean that he did not receive animal control instruction at the police academy.

Further, he admitted he was aware that squad cars were equipped with snares, even thought

the use of snares had not been physically demonstrated for him. Regardless, no reasonable

jury could find Carter’s lack of training in the use of snares could constitute a failure to train

on the part of the City.

              Lastly, no reasonable jury could find that any deficiency in training actually

caused a violation of Viilo’s rights as required by City of Canton, 489 U.S. at 391. The officers

approaching Viilo’s house thought they were confronting a suspect in connection with a violent

crime who was known to carry a weapon and to have a pit bull with him. No reasonable jury

would conclude that the police officers who approached Viilo’s home should have had an

animal snare in hand to restrain Arendt’s pit bull in the event the dog attached them. Further,

no reasonable jury would hold that after Bubba was shot Carter or another officer should have

left the scene – while it remained unclear whether Arendt was in the area – to get an animal

snare from the squad car then try to restrain the injured dog. Thus, even if Carter and the



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other officers had received more training regarding the use of non-lethal force on dogs, the

situation they walked into required them to be prepared for lethal force.

                                        CONCLUSION

                For the reasons set forth above,

                IT IS ORDERED that the defendants’ motion for summary judgment is granted

as to all claims except the claim that the third and fourth shots constituted an illegal seizure..

                IT IS FURTHER ORDERED that a telephonic conference to discuss the further

scheduling of this case will be held on Thursday, March 6, 2008, at 2:30 p.m. The court will

initiate the call.

                Dated at Milwaukee, Wisconsin, this 12th day of February, 2008.

                                                          BY THE COURT

                                                          s/ C. N. CLEVERT, JR.
                                                          C. N. CLEVERT, JR.
                                                          U. S. DISTRICT JUDGE




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